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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                                  Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
 ___________________________________________

 This Document Relates to 46 Category 6 and 7 Cases
 (Listed in Exhibit A to Instant Motion, Dkt. 11923-1)
 ___________________________________________

                  COOK DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                    OMNIBUS MOTION FOR SUMMARY JUDGMENT
                     IN 46 MISCATEGORIZED NO INJURY CASES

 I.       Cook Withdraws Its Motion as to Four Cases and 12 Others Should Be Deferred.

          Based on discussions with Plaintiffs’ attorneys, Cook withdraws its motion for summary

 judgment for the following cases:

 Plaintiff                           Case No.               Plaintiff’s Counsel
 Walton, Angela & Vincent            1:17-cv-00063          Flint Law Firm, LLC
 Fuller, Barbara Sue                 1:17-cv-02127          Murphy Law Firm, LLC
 Furnas, James and Carol             1:18-cv-01519          Niemeyer Grebel & Kruse, LLC
 Doane, Dwight1                      1:18-cv-02735          Johnson Law Group

 Cook reserves the right to renew the present motion or to bring additional motions for summary

 judgment against these Plaintiffs as the litigation develops.

          Additionally, Cook has agreed to an extension for responsive briefing with counsel in

 12 cases. Thus, the issues are not yet ripe with the case listed in the table below because they

 have not been fully briefed:




 1
      Plaintiff Doane has filed a response and submitted exhibits and a proposed order (Dkts.
      12403-04). Those docket entries are now moot in light of Cook’s agreement to withdraw the
      motion with respect to this case.
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 Plaintiff                                       Case Number
 Madison, Charles Edward                         1:16-cv-01985
 Miller, John George                             1:17-cv-01981
 Gruber, JC                                      1:17-cv-02062
 Jacobs, Victoria (Estate)                       1:17-cv-02815
 Banegas, Ever Jr.                               1:17-cv-03126
 Young, Robin S.                                 1:17-cv-03243
 Harvey, Stanley                                 1:17-cv-03854
 Bender, Judy E.                                 1:17-cv-04085
 Aultman, Ella F.                                1:17-cv-04455
 Glaude, Katrina                                 1:17-cv-04498
 Cota, Marc C.                                   1:18-cv-01114
 Bernero, Joseph                                 1:18-cv-01726

 II.       Cook’s Motion for Summary Judgment is Moot as to Sixteen Cases That Have
           Already Been Dismissed.

           Several Plaintiffs have agreed to dismiss their cases and some of the stipulations have

 already been entered by the Court. Accordingly, Cook’s motion for summary judgment is moot

 with respect to the following cases that have already been dismissed or have a stipulation to

 dismiss pending on the docket:

 Plaintiff              Case Number        Plaintiff’s Counsel             Status
 Ardrey, Joyce          1:16-cv-01122      Seeger Weiss LLP                Dismissed (Dkt. 12408); Granted
                                                                           (12424)
 Jordan, Lena           1:16-cv-01731      Fears Nachawati                 Dismissed (Dkt. 12436); Granted
                                                                           12426)
 Anthony,               1:16-cv-01775      Fears Nachawati                 Dismissed (Dkt. 12436); Granted
 Charlene                                                                  (12426)
 Wilson, Samuel A.      1:16-cv-02405      Farr, Farr, Emerich, Hackett,   Dismissed (Dkt. 12450);
 & Lois Ann.                               Carr & Holmes P.A.              Stipulation Pending2
 Anderson, Vicki        1:16-cv-02796      Lieff Cabraser Heimann          Dismissed (12428); Granted
 Lynn                                      & Bernstein, LLP                (12432)
 Monroe, Benjamin       1:16-cv-03165      Amir M. Kahana P.C.             Dismissed (Dkt. 11533); Granted
 Reiss, Cynthia         1:17-cv-00016      Sanders Viener Grossman         Dismissed (Dkt. 12116); Granted
                                           LLP                             (Dkt. 12160)
 Stevenson, Alex        1:17-cv-02454      Verhine & Verhine PLLC          Dismissed (12380); Granted
 Paul, Jr. (Estate)                                                        (12398)
 Jackson, Larry         1:17-cv-02697      Richard J. Plezia &             Dismissed (12446); Stipulation


 2
       The stipulation to dismiss in Wilson was initially filed in error on the individual docket, but
       has now been re-filed by the parties on the master docket as docket no. 12450.

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 Plaintiff             Case Number       Plaintiff’s Counsel            Status
                                         Associates                     Pending
 Ellis, Randy          1:17-cv-03314     Richard J. Plezia &            Dismissed by Court (Dkt. 12349)
                                         Associates
 Furney, Sherri        1:17-cv-04324     Curtis Law Group               Dismissed (Dkt. 12258); Granted
                                                                        (Dkt. 12264)
 O’Malley, Heather     1:18-cv-01718     Fears Nachawati                Dismissed (Dkt. 12436); Granted
                                                                        12426)
 Reed, Sebrina         1:18-cv-01942     Ferrer Poirot & Wansbrough     Dismissed (Dkt. 12391); Granted
                                                                        (12423)
 County, Isaih         1:18-cv-03100     The Gallagher Law Firm         Dismissed by Court (Dkt. 12228)
 (Estate)                                PLLC
 Puffer, Jill M. and   1:19-cv-00118     Fears Nachawati                Dismissed (Dkt. 12436); Granted
 Robert                                                                 (12426)
 Wrenn, Robin          1:19-cv-00511     Ferrer Poirot & Wansbrough     Dismissed (Dkt. 12393): Granted
                                                                        (12424)

 III.    Cook is Entitled to Summary Judgment as to Six Plaintiffs Who Filed No Response
         to Cook’s Motion.

         Six Plaintiffs have filed no response to Cook’s motion. Those cases are:

 Plaintiff             Case Number       Plaintiff’s Counsel                Status
 Burroughs, Louis      1:16-cv-01524     The Miller Firm, LLC               Did Not Respond
 & Sharon
 Oswalt, Margaret      1:16-cv-02727     Paglialunga & Harris, PS           Did Not Respond
 & Kenneth
 Boatwright-           1:17-cv-01449     Lopez McHugh LLP                   Did Not Respond
 Woods, Mary
 Maddelein, Susan      1:17-cv-03487     Marc J. Bern & Partners, LLP       Did Not Respond
 Schwenk, Philip       1:18-cv-03502     Martin Baughman, PLLC              Did Not Respond
 Hall, Cynthia         1:19-cv-00136     McGynn Glisson & Mouton            Did Not Respond

 Cook asks the Court to enter summary judgment in these cases for the reasons stated in Cook’s

 opening brief.

 IV.     Cook Is Entitled to Summary Judgment in Alto, and Cook Will Respond to
         Plaintiff’s Motion to Dismiss Without Prejudice in a Separate Filing.

         Plaintiff Alto has filed a motion to dismiss without prejudice and a short response cross-

 referencing the motion to dismiss without prejudice, and stating that he “does not believe

 summary judgment is the proper remedy in a situation such as this one, where the defense alleges


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 no injury has occurred and no cognizable claim exists, and the more appropriate remedy is a

 dismissal without prejudice.” Plaintiff Alto’s Response, Dkt. 12387. Cook’s position is that the

 only relief available on a motion for summary judgment entails dismissal of cases with prejudice,

 and that Plaintiff Alto’s attempt to escape entry of summary judgment by filing a last-minute

 motion to dismiss the case without prejudice is improper.3 Cook therefore asks the Court to

 enter summary judgment in Alto; Cook will set forth the grounds for opposing dismissal without

 prejudice in its forthcoming response to Plaintiff’s motion under the briefing timetables

 applicable to that motion.

 V.       Cook Properly Relied on Plaintiffs’ Own Claimed Injuries and Medical Records as
          Submitted in Their Case Categorizations.

          Some Plaintiffs argue that Cook’s reliance on information in their categorization forms

 and the medical records they submitted with those forms as the factual basis for summary

 judgment is improper or that addressing summary judgment is premature.4 The Court has

 already rejected these arguments.

          As the Court will recall, more than two months ago, the Plaintiffs’ Steering Committee

 moved to strike one of Cook’s motions for summary judgment in a separate set of cases (Dkt.

 11502) based on the statute of limitations on this same ground, claiming that the CCFs were for

 bellwether selection only and that Cook’s motion improperly used the CCFs. See PSC’s Mot. to

 Strike, Dkt. 11518. In response, Cook pointed out that the Court’s orders concerning specific

 case categories and CCFs for new cases made clear that the CCFs were intended for case-



 3
      The Anderson case was dismissed without prejudice upon Plaintiff Anderson’s own motion
      that Cook did not join (see Dkts. 12428-29 & 12432). From Cook’s perspective, Cook had
      established grounds for summary judgment in that case for disposition of the matter on the
      merits. Cook believes that the substance of this issue will be addressed through the Alto case
      as presented here and that will provide guidance for Anderson.
 4
      See e.g., Plaintiff Mosier’s Response, Dkt. 11923 at 5-6.

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 screening purposes as well as bellwether selection, and that Cook was using the CCFs for the

 precise purpose for which they were intended. See Cook’s Reply to PSC’s Motion to Strike,

 Dkt. 11556 at 2-5 (citing, inter alia, the Court’s Orders at Dkts. 9322, 10617, 10632, 11377).

 Based on these arguments, the Court denied the PSC’s motion to strike and instead set a briefing

 schedule to address that motion on the merits. See Entry on the August 20, 2019 Status

 Conference, Dkt. 11602, p. 1.

         None of the Plaintiffs’ responses to the present motion offers any reason for the Court to

 reconsider this decision; indeed, Plaintiffs’ responses do not even acknowledge that the Court

 has already decided this issue. The Cook Defendants incorporate by reference the arguments

 made in their response to the motion to strike (Dkt. 11556) and ask the Court to reject this effort

 to undermine its existing ruling.

 VI.     Cook Has Provided Sufficient Legal and Factual Grounds to Support Tilt is Not
         Cognizable Claim

         Plaintiff Bishop-Jones has filed a short opposition solely arguing that the Cook

 “Defendants cite a lot of law and procedural background, but no facts to affirmatively establish

 that ‘tilt,’ of the subject IVC Filter, without more, constitutes no injury as a matter of law.” See

 Plaintiff Bishop-Jones’s Response, Dkt. 12287 at 2.5

         Plaintiff’s arguments fail to address the basis for Cook’s motion. First, she does not

 dispute that the medical records she submitted establish that her case is “tilt only,” and her

 response submits no records of cognizable complications or injuries beyond tilt. It is therefore

 undisputed that Plaintiff Bishop-Jones’s case is a “tilt only” case.



 5
     Plaintiffs Reed and Wren had filed very similar oppositions to Plaintiff Bishop-Jones, but
     those cases are now moot because they were subsequently dismissed by agreement of the
     parties as noted in Section II above. See Dkts. 12230 (Plaintiff Reed’s Response); 12231
     (Plaintiff Wren’s Response).

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         Second, the question of whether tilt constitutes a legally cognizable injury is not a factual

 question but a legal determination. As explained in detail in Cook’s opening brief, the Southern

 District of New York faced this issue in 2018 and held that mere tilting of an IVC filter standing

 alone is not a legally sufficient injury. See Cook’s Opening Brief, Dkt. 11924 at 2, 8-10

 (discussing Perez v. B. Braun Med., Inc., 2018 WL 2316335, at *5 (S.D.N.Y. May 9, 2018)

 (explaining that even if “accepting that the likely tilt is an actual tilt, no more is said about it than

 that it may lead to a series of actual injuries.”)). Indeed, the PSC’s briefing regarding the

 categorization process and current bellwether plan acknowledged tacitly that mere tilt cannot be

 considered a cognizable injury in this litigation, and the Court did not create a category for tilt

 claims when it issued the Case Categorization and Screening Order. See id. at 8-10.

         In sum, Plaintiff Bishop-Jones does not dispute that filter tilt is the only injury she claims,

 and the determination of whether that tilt alone constitutes an injury is a question of law for the

 Court. The Court should reject Plaintiff’s argument and grant summary judgment on the merits

 of Cook’s motion.

 VII.    Plaintiffs Fails to Raise Individual Factual Issues to Preclude Entry of Summary
         Judgment in Their Cases

         Six Plaintiffs (Mosier, Jessen, Gillen, Carroll, Newhouse, and McGee) have filed

 responses arguing that Cook is not entitled to summary judgment in their cases based on case-

 specific factual issues. Although Cook addresses each of these responses in turn below, the

 common thread among them is that these Plaintiffs have failed to provide sufficient medical

 record support to maintain an injury claim cognizable under the law or under the Court’s

 categorization framework.




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         A.     Plaintiff Mosier’s Claim of Standalone Pain is Not a Cognizable Injury
                Under the Court’s Categorization Framework.

         Plaintiff Mosier argues that the record he submitted in support of categorization indicates

 a complaint of “noncardiac chest pain,” and that Cook has misconstrued and/or misrepresented

 the facts of the case because that complaint of pain should constitute a legally cognizable injury.

 See Plaintiff Mosier’s Response, Dkt. 12261.

         Plaintiff Mosier fails to address the fact that the Court’s categorization framework does

 not allow for standalone claims of pain. Under the definitions of the Case Categorization Form

 (CCF), Category 7 is reserved for “[c]ases where the Plaintiff alleges medical symptoms,

 conditions, or complications caused by one or more of the following conditions,” and it lists

 11 complications. See Dkt. 9638-1 (defining categories and subcategories). Standalone pain is

 not one of those enumerated conditions. At most, pain may be a symptom caused by one of the

 11 Category 7 injury types.       See id.    Other Category 7 Plaintiffs have submitted case

 categorization records demonstrating pain and a filter complication, such as a perforation or

 fracture. Plaintiff Mosier has not done so here, and his claim of pain alone does not qualify as a

 Category 7 injury.

         Per the filter removal record that he submitted with his CCF, Plaintiff Mosier received a

 filter in August 2014, complained of chest pain at some point, and underwent a successful filter

 retrieval procedure in January 2015. See Plaintiff Mosier’s Response, Dkt. 12261-3 (attaching

 filter removal record as exhibit). The record he submitted does not suggest any complication

 with the filter (making the case ineligible for Category 7) or any difficulty with the retrieval

 (making the case ineligible for Category 5). See id. (noting that Plaintiff Mosier was concerned

 about recurrent symptoms [presumably a reference to concerns for DVT/PE, which had

 prompted placement of the filter in the first place], ruling those concerns out, and successfully


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 removing the filter “with no thrombus in the filter.”). Indeed, the record does not even suggest

 that the chest pain was caused by the filter – it simply notes that Plaintiff Mosier had experienced

 chest pain at some point while the filter was in his body. Without more, Plaintiff Mosier fails to

 establish that the proper categorization for his case should be anything higher than Category 1,

 and Category 1 cases were “subject to immediate dismissal” and indeed have all been dismissed

 by the Court. See Dkts. 9322 & 10617.

         Furthermore, Plaintiff Mosier’s allegation of perforation in his PPF/PPS (see Dkt.

 12261-3 at 6) does not save his claim. The Case Categorization and Screening Order expressly

 required Plaintiffs to support each claim of a complication or injury with a specific record, and

 Plaintiff Mosier has submitted no record in support of the perforation claim.

         Regarding the remainder of Plaintiff Mosier’s response, his arguments regarding choice-

 of-law are moot because the Court has subsequently confirmed that Indiana choice-of-law rules

 apply to cases originally filed in the Southern District of Indiana. (Dkt. 12256) The Court,

 however, need not conduct a choice-of-law analysis under Indiana law here because Cook

 incorporated by reference cases applying both Indiana and Missouri law for the proposition that a

 physical injury attributable to the filter is required to sustain a claim. See Cook Defendants’ Br.

 in Support of Mot. to Dismiss on Pleadings in Category 2 Cases for Failure to State a Claim,

 Dkt. 10857 (citing Shuamber v. Henderson, 579 N.E.2d 452, 454 (Ind. 1991) and Sill v. Shiley,

 Inc., 735 F. Supp. 337, 340 W.D. Mo. 1989)). As explained above, the issue with Plaintiff

 Mosier’s case is that there is no medical record linking the allegation of pain to the filter, which

 is insufficient under the requirements of the Court’s categorization process to sustain a claim

 whether that be a tort claim or an implied warranty claim.




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         Further, Plaintiff’s arguments regarding his state consumer protection claim are

 misplaced, because Cook’s argument is not focused on the nuances of how elements are defined

 under state law, but the threshold federal procedural issue that consumer protection claims must

 be pled with particularity. Federal courts in Missouri have held that claims under that state’s

 consumer protection statute – the Missouri Merchandising Practices Act (MMPA) – must be pled

 with particularity. See e.g., Budach v. NIBCO, Inc., 2015 Wl 3853298, at *6 (W.D. Mo. June 22,

 2015) (“The heightened pleading requirements of Rule 9(b) apply to a claim under a state

 consumer fraud statute, such as he MMPA, just as they do the common law fraud claims. Thus,

 an MMPA claim requires a plaintiff allege facts such as time, place and contents of false

 representations, as well as the identity of the person making the misrepresentation and what was

 obtained or given up thereby.”) (internal citations omitted). Here, Plaintiff Mosier merely recites

 the general allegations from Plaintiffs’ Master Complaint, but the Master Complaint fails to

 provide any of the information required by Rule 9(b) and cases like Budach because they lack

 the required degree of specificity.

         In sum, summary judgment is appropriate in Plaintiff Mosier’s case.

         B.      Plaintiff Jessen Cannot Manufacture an Issue of Material Fact By Alleging
                 Complications In His Categorization Form That Are Expressly Ruled Out By
                 the Record Submitted In Support of That Same Categorization Form.

         Plaintiff Jessen argues that his case demonstrates a “probable perforation” and that he

 will prove the existence of this condition through imaging and expert testimony. See Plaintiff

 Jessen’s Response, Dkt. 12268 at 3. Plaintiff Jessen chose Category 6 and wrote in “probable

 perforation” on his Case Categorization Form, but he has not provided a medical record showing

 performation.




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         Because Plaintiff Jessen failed to support his Case Categorization Form with medical

 records documenting a present, cognizable injury, Cook is entitled to summary judgment. The

 case categorization process required each Plaintiff to provide record(s) in support of each

 claimed injury. See Case Categorization Form, Instruction No. 3 (“The Category selected must

 be supported by attaching specific medical record(s) confirming the injury/complication/category

 selected. . . .”) (emphasis in original). Here, although Plaintiff Jessen alleges a “probable

 perforation” in his Categorization Form, that claim is unsupported by any record. Plaintiff

 Jessen submitted only a cross-sectional image in support of his CCF, without any report reading

 the image or measuring the alleged perforation. The claim of perforation apparently rests

 entirely on Plaintiff’s attorneys’ own reading of the image. Plaintiff Jessen has therefore failed

 to support his perforation claim with the medical documentation required by the Court’s

 Categorization Order (Dkts. 9322 & 9638), and Cook is entitled to summary judgment.

         C.     Plaintiff Gillen’s Attempted Re-Categorization Fails to Raise a General Issue
                of Material Fact Because it is Based on the Same Imaging That Plaintiff’s
                Treating Physician Initially Interpreted as a “Tilt Only” Case.

         Plaintiff Gillen opposes Cook’s motion on grounds that she amended her categorization

 purportedly showing “Plaintiff clearly suffers from several injuries in addition to the tilting of the

 filter.” Plaintiff Gillen’s Response, Dkt. 12399 at 3-4. Plaintiff Gillen also seeks costs due to

 Cook’s decision not to withdraw the case from the motion. See id. at 4-5. Plaintiff’s newly

 generated evidence does not defeat summary judgment here, and the Court should reject her

 request for sanctions.

         In this case, Plaintiff Gillen submitted her original CCF on November 15, 2018 claiming

 a category 6 “asymptomatic tilting.” In support of her claim, she submitted a medical record—

 her treating physician Dr. Nguyen’s interpretation of a CT scan performed on December 2, 2017.



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 In that report, Dr. Nguyen remarked that there was an “inferior vena cava filter in place,” that the

 filter was “in good position,” that there was “posterior tilting of the filter,” and the filter was

 “intact without evidence of fracture.” See Plaintiff Gillen’s November 15, 2018 CCF and

 Confidential Medical Record, denoted as Exhibit A and separately filed under seal. Based on

 this record, Plaintiff Gillen’s attorney certified her claim was asymptomatic tilt. See id.

         Cook filed the instant motion on October 1, 2019. Ten days later on October 11, 2019,

 Plaintiff Gillen submitted an amended CCF, now claiming that she has multiple asymptomatic

 perforations and a fracture. Instead of offering a new or different medical record from a treating

 physician in support of this amended categorization, however, she offers only a report from an

 apparent consulting expert who re-reviewed the same December 2, 2017, CT Scan that her

 treating physician Dr. Nguyen originally interpreted as showing no perforations or fractures. See

 Plaintiff Gillen’s Response, Dkt. 12399 (attaching amended CCF as exhibit).6 This purported

 “amended” categorization does not defeat Cook’s summary judgment motion here. Plaintiff

 Gillen has not submitted new records, but only a litigation-driven reinterpretation of the same

 record by a consulting expert that runs afoul of the spirit of the “sham affidavit” rule.

         The Seventh Circuit has long recognized the “sham affidavit” doctrine that prevents

 parties from taking contradictory positions from their sworn testimony to stave off entry of

 summary judgment, and courts apply the doctrine with equal measure to testimony of a party’s

 experts. E.g., Bank of Illinois v. Allied Signal Safety Restraint Sys., 75 F.3d 1162, 1168-69 (7th

 Cir. 1996) (“We have long followed the rule that parties cannot thwart the purposes of Rule 56

 by creating ‘sham’ issues of fact with affidavits that contradict their prior depositions.”); In re

 Fosamax Prod. Liab. Litig., 707 F.3d 189, 194 (2d Cir. 2013) (stating with respect to the


 6
     The record documenting the re-review is dated October 8, 2018, eight days after the filing of
     the motion and three days before the “amended” categorization was received by Cook.

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 plaintiff’s expert’s testimony:      “We cannot reconcile his new testimony with his prior

 testimony.”); see also Beckel v. Wal-Mart Assocs., Inc., 301 F.3d 621, 623 (7th Cir. 2002)

 (explaining that issues of fact created by sham affidavits “are so lacking in credibility as to be

 entitled to zero weight in summary judgment proceedings unless the affiant gives a plausible

 explanation for this discrepancy.”). The rule exists as a necessary safeguard because “if such

 contradictions were permitted . . . the very purpose of the summary judgment motion – to weed

 out unfounded claims, specious denials, and sham defenses – would be severely undercut.”

 Ineichen v. Ameritech, 410 F.3d 956, 963 (7th Cir. 2005) (quoting Bank of Illinois, 75 F.3d at

 1168-69); see also United States ex rel. Robinson v. Indiana Univ. Health Inc., 204 F. Supp. 3d

 1040, 1044 (S.D. Ind. 2016) (noting that “[w]ithout the doctrine, even an affidavit involving

 contradictions so clear that the only reasonable inference was that the affidavit was a sham

 designed to thwart the purposes of summary judgment” would in fact preclude summary

 judgment.”) (internal citations omitted).

         Cook submits that the same policies require the application of the “sham affidavit”

 doctrine under the circumstances here. Although neither Plaintiff Gillen nor her treating or

 consulting physicians have been deposed, both the original categorization and the amended

 categorization provided after Cook filed for summary judgment are signed and certified as

 accurate by her attorneys. See Case Categorization Form, Dkt. 9638-1 at 5 (“Certification: The

 undersigned counsel affirms that the categorization is based on a review of the available medical

 records including imaging records and reports … [counsel certifies] that outcome, complication,

 or injury represented in Section D is the proper categorization of Plaintiff’s case to the best of

 counsel’s knowledge and belief.”).




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         Notwithstanding the original certification of the CCF as accurate, as soon as Cook moved

 for summary judgment, Plaintiff Gillen’s counsel generated and certified as accurate an imaging

 report from a new radiologist that contradicts every relevant finding in the treating physician’s

 original reading of the same images – the same reading that the same Plaintiffs’ attorneys had

 also previously certified as accurate.    The only plausible explanation from such a blatant

 contradiction in Plaintiffs’ attorneys’ two certified categorizations is that Plaintiff Gillen has

 employed experts to manufacture evidence to avoid Cook’s motion for summary judgment.

 Such a blatant contradiction is a clearcut violation of the basic principles underlying the “sham

 affidavit” rule, and the Court should reject Plaintiff Gillen’s amended categorization because it

 undermines the integrity of both the Court’s case categorization system and the summary

 judgment process. See Bank of Illinois, 75 F.3d at 1168-69; United States ex rel. Robinson, 204

 F. Supp. 3d at 1044 (all discussing the necessity of the sham affidavit rule to safeguard the

 intended operation of the summary judgment rule to dispose of unfounded claims).

         Judicial acceptance of Plaintiff Gillen’s attempt to defeat summary judgment with a

 blatantly contradictory categorization based on the same images would create a dangerous

 precedent in this MDL and would thwart the Court’s efforts to promote orderly docket

 management practices in the MDL. In effect, any plaintiff faced with summary judgment in a

 case with solid evidence of no injury from a treating physician – evidence certified as accurate

 by the plaintiff’s attorney – would be able to create an issue of fact by shopping around for a

 hired “consulting physician” to re-review records and contradict that evidence.

         Moreover, Plaintiff Gillen’s amended categorization is “entitled to zero weight in [these]

 summary judgment proceedings” because she has provided no explanation, much less “a

 plausible explanation” for the blatant contradictions and discrepancies between the two



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 categorizations based on the exact same images. Beckel, 301 F.3d at 623; Bank of Illinois v.

 Allied Signal Safety Restraint Sys., 75 F.3d 1162, 1168 (7th Cir. 1996). Indeed, Plaintiff Gillen’s

 response does not discuss or quote the findings in the original imaging report, instead attaching

 three separate copies of the manufactured amended categorization without ever discussing the

 original substance of the categorization.

         The Court should also reject Plaintiff Gillen’s request for sanctions for several reasons.

 First, Plaintiff has failed to comply with Rule 11’s requirements for such requests. Rule 11

 provides that a motion for sanctions for a frivolous motion “must be made separately from any

 other motion.” Fed. R. Civ. P. 11(c)(2). Plaintiff Gillen failed to do so, instead incorporating her

 request in her response to Cook’s motion. See Dkt. 12399 at 5. Rule 11 also provides that such

 a request for sanctions should be served on the opposing party but “must not be filed or

 presented to the court” until the opposing party has had 21 days to withdraw or correct the

 submission. Fed. R. Civ. P. 11(c)(2). Plaintiff likewise failed to comply with this mandate,

 filing her request with the Court at the same time she served it on Cook. The Court should reject

 Plaintiff’s request for sanctions for these procedural failings alone.

         Plaintiff Gillen’s request for recouping the costs of preparing her response is also

 frivolous on its merits. Whether the Court will ultimately agree or disagree with the arguments

 that Cook has raised herein about Plaintiff Gillen’s contradictory categorizations, Cook continues

 to press for summary judgment in this case in good faith. Cook is well within its rights of

 zealous advocacy in strongly opposing Plaintiff Gillen’s efforts to survive summary judgment

 through what can only be described as a sham categorization. The Court should deny Plaintiff

 Gillen’s request for sanctions/costs. Cook does not seek sanctions against Plaintiff Gillen for

 making the request, but notes for the record that a frivolous request for sanctions is itself



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 sanctionable under applicable Seventh Circuit precedent: “We are troubled by the frequency

 with which lawyers in this court … are including in their briefs groundless requests for []

 sanctions. … Any frivolous motion, pleading, or request is subject to sanctions, including a

 motion or request for sanctions.” Meeks v. Jewel Cos., Inc., 845 F.2d 1421, 1422 (7th Cir. 1998)

 (citing In re Central Ice Cream Co., 836 F.2d 1068, 1074 (7th Cir. 1987)).

         Plaintiff Gillen’s response notes but does not specifically address Cook’s arguments

 regarding her non-tort claims, and Cook therefore rests on the arguments in its opening brief that

 establish Cook’s entitlement to summary judgment on all of her claims. Cook asks the Court to

 grant summary judgment in this case.

         D.     Plaintiff Carroll Has Misinterpreted the Information Stated in His Medical
                Records.

         Plaintiff Carroll argues that his case was properly categorized as Category 7(e) based on a

 record allegedly showing perforation and, in the alternative, that the case would be a Category 6

 based on a separate portion of the record commenting about clot in the filter. See Plaintiff

 Carroll’s Response, Dkt. 12407.

         Plaintiff Carroll has misinterpreted his medical records on both points. With respect to

 perforation, the record merely mentions that there was “some adherence of the hooks into the

 wall of the inferior vena cava,” and that the filter was successfully removed as part of that

 percutaneous procedure. See id. at 2 (quoting filter removal record). But Plaintiff Carroll

 confuses the filter attaching itself to the inner wall of the vena cava with the filter perforating

 the outside wall. The record submitted never mentions the filter perforating or protruding from

 the outer wall and therefore on its face does not support a claim of perforation. Further, the

 medical records Plaintiff Carroll submitted document nothing about injury symptoms regarding

 the filter’s presence in his body or the routine retrieval that he underwent.


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         With respect to the clot allegation, Plaintiff Carroll focuses on the following language in

 the retrieval record: “After removal of the filter, we examined the filter and found a fair amount

 of fibrous tissue in the cone of the filter . . . presumably indicat[ing] that there may have been a

 clot by the filter in the past.” See id. But the physician only notes that there may have been a

 clot by the filter; he does not state that there actually was a clot by the filter, much less that the

 filter somehow caused the clotting. Filters are by intent placed in patient at risk for DVT/PE, so

 commentary discussing some clot in the filter is unsurprising for any removal procedure, and

 Plaintiff Carroll has not categorized the case as post-placement DVT/PE (Categories 7(g-h) or

 submitted a record noting such DVT/PE.

         The record Plaintiff Carroll submitted indicates that his filter was successfully removed

 without issue on the first percutaneous attempt; to the extent minor clotting was noted in an on

 the filter, that is just evidence confirming that the filter has worked exactly as intended and

 caught/broken up any clot that may have formed and does not suggest that the filter caused the

 clot. Under those facts, Plaintiff Carroll cannot sustain a credible claim for a filter-related injury

 and summary judgment in Cook’s favor should be granted.

         E.     Plaintiff Newhouse Cannot Defeat Summary Judgment by Referencing
                Allegations in His PFS/PPS That Were Not Categorized and Supported By
                Medical Records.

         Plaintiff Newhouse opposes Cook’s motion for summary judgment on grounds similar to

 those of Plaintiff Jessen, arguing that “Plaintiff has served a Plaintiff Profile Form indicating the

 alleged damages” – perforation – and that therefore “a disputed material fact exists in this

 matter.” Plaintiff Newhouse’s Response, Dkt. 12288 at 8.

         Plaintiff Newhouse is mistaken. Again, the Case Categorization Form required that each

 “Category selected [by a Plaintiff] must be supported by attaching specific medical record(s)

 confirming the injury/complication/category selected. . . .”) (emphasis in original).          While

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 Plaintiff Newhouse wrote in his PFS/PPS both “perforation” and “tilt,” the medical record he

 submitted with his categorization demonstrated only the placement of the filter, not tilt or

 perforation. Because this placement record demonstrates only that Plaintiff Newhouse received

 a filter and nothing else, his categorization form is facially deficient and cannot defeat summary

 judgment. Plaintiff Newhouse has had over a year to collect medical records in support of his

 perforation allegation and has not done so. Cook is therefore entitled to summary judgment.

          F.     The Records Plaintiff McGee Provided Do Not Show Migration.

          Plaintiff McGee argues that the records she submitted demonstrate that her case is a

 Category 6 asymptomatic migration case. See generally Plaintiff McGee’s Response, Dkt.

 12395.

          Plaintiff McGee is mistaken. The records that she submitted with her CCF refer only to

 the filter being “malpositioned,” without any mention of the filter migrating from its initial

 deployment site. Under SIR guidelines and definitions adopted by this Court’s categorization

 framework, a filter is considered to have migrated if it is recorded on imaging to have moved 2

 cm or more from its initial deployed position. See Case Categorization Form, Dkt. 9638-1

 (defining Category 7(d) “migration”)). The record here merely refers to the filter as being

 malpositioned, without any suggestion that the filter had moved from its initial deployment

 position. In fact, the physician expressly notes that “[n]o prior studies [were] available for

 comparison,” meaning that her doctors had no basis to determine whether the filter was initially

 deployed in that position or had moved there post-deployment. See Dkt. 12395-2. At most then,

 the records Plaintiff McGee submitted demonstrate the possibility of a migration, but that is not

 enough to sustain a Category 6 asymptomatic migration/movement claim. That category is for

 filters that have some record of actual post-deployment movement, and Plaintiff McGee has



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 produced no such record here. Moreover, the record she did produce demonstrates that her

 removal was successful and does not mention any symptomatic injury occurring while her filter

 was in place. Under such facts, the case is a no-injury successful-removal case, and Cook is

 entitled to summary judgment.

         G.      Inclusion of Plaintiffs Newhouse and McGee’s Cases in Cook’s Separate
                 Motion for Summary Judgment Based on the Statute of Limitations Does
                 Not Make Summary Judgment on No Injury Grounds Improper Nor Does It
                 Entitle Them to Dismissal Without Prejudice.

         Plaintiffs Newhouse and McGee further take issue with Cook’s inclusion of their cases in

 both the present motion and a separately pending omnibus motion for summary judgment based

 on the statute of limitations (see Dkts. 11725-26). They also argue in the alternative that their

 cases should be dismissed without prejudice, instead of having judgment on the merits entered

 against them.     With respect to the statute of limitations issue, Cook included Plaintiff

 Newhouse’s and Plaintiff McGee’s cases in the other motion because each of them failed to

 commence their actions within the periods permitted either by Indiana’s statutes of limitations or

 by the statutes in their respective home states of Virginia and Texas. See id. Cook’s argument

 here that their cases amount to “no injury” cases on the merits of the claimed injuries does not

 make the statute of limitations motion inappropriate or justify denying either motion.

         On a motion for summary judgment, courts evaluate evidence in the light most favorable

 to the non-moving party. See generally Fed. R. Civ. P. 56. Here, Plaintiff Newhouse submitted

 only placement records with his Case Categorization Form. The only reasonable inference from

 this submission is that Plaintiff Newhouse considers something about the placement procedure

 itself to be a complication giving rise to a legal claim. Accordingly, Cook is well within its

 rights to argue that the case is time-barred because the placement procedure documented in the




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 only records submitted in support of categorization occurred well outside the two-year

 limitations period.

         At the same time, Cook can argue that a routine placement procedure cannot be

 considered a standalone injury – that liability does not attach at the mere purchase of a product,

 but only in the event that a defect in the product causes some legally cognizable injury. The

 Court’s categorization framework screens meritless filings from this MDL by requiring Plaintiffs

 at minimum to provide medical proof of some complication that could conceivably be caused by

 a product defect. By submitting only placement records in support of his categorization, Plaintiff

 Newhouse has failed to provide such proof – the records he submitted only demonstrate that he

 received a Cook filter, not that any complication and/or injury has occurred in his case. The

 parallel summary judgment motions based on failure to meet the statute of limitations and failure

 to identify a compensable injury are in no way inconsistent, and Cook may properly urge them

 both.

         Plaintiff McGee fares no better.      Even assuming arguendo that an asymptomatic

 migration would be a sufficient injury under applicable state law, the record Plaintiff McGee

 submitted demonstrates at most a potential migration, not an actual migration. The record fails

 to support Plaintiff McGee’s CCF, which required documentation of an actual injury. Cook’s

 categorization of the case as “no injury” is appropriate, and Cook is entitled to summary

 judgment.

         The Court should also reject these two Plaintiffs’ requests for dismissal without prejudice

 instead of summary judgment.7 Cook has moved for summary judgment under Rule 56, based on



 7
     As the Court might be aware, Cook provided voluntary terms of dismissal in these cases to
     Plaintiffs’ counsel. Cook sought dismissal on similar terms as used by the Court on
     dismissals of Category 2 cases in the last few months; however, the parties were not able to

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 the evidence Plaintiffs produced at the Court’s direction and the law governing the need for

 proof of injury. By definition, “summary judgment is a final adjudication on the merits,”

 Celestine v. Petroleos de Venezuella SA, 266 F.3d 343, 350 (5th Cir. 2001), and “an

 ‘adjudication upon the merits’ is the opposite of a ‘dismissal without prejudice,’” Semtek Int'l

 Inc. v. Lockheed Martin Corp., 531 U.S. 497, 505 (2001). Because Cook has demonstrated that

 it is entitled to summary judgment here, the disposition of the cases should be on the merits – i.e.

 with prejudice – because that is the only manner of adjudication available on a Rule 56 motion.

                                          CONCLUSION

         For the foregoing reasons, the Cook Defendants ask the Court to grant their motion for

 summary judgment in these cases.

                                               Respectfully Submitted,




 Dated: November 18, 2019                      /s/ Andrea Roberts Pierson
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    reach agreement on voluntary dismissal in all cases. Accordingly, Cook seeks summary
    judgment in these cases under Rule 56 and has characterized the motion (both in style and
    substance) as a motion for summary judgment.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 18, 2019, a copy of the foregoing COOK

 DEFENDANTS’ MEMORANDUM IN SUPPORT OF OMNIBUS MOTION FOR

 SUMMARY JUDGMENT IN 46 MISCATEGORIZED NO INJURY CASES was filed

 electronically, and notice of the filing of this document will be sent to all parties by operation of

 the Court’s electronic filing system to CM/ECF participants registered to receive service in this

 matter. Parties may access this filing through the Court’s system.




                                                         /s/ Andrea Roberts Pierson




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